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            1    Stuart M. Price, SBN 150439
                 L. Tegan Hurst, SBN 275830
            2
                 PRICE LAW GROUP, APC
            3    6345 Balboa Boulevard, Suite 247
                 Encino, CA 91316
            4    Tel: 818.995.4540 | Fax: 818.380.7626
                 tegan@pricelawgroup.com
            5
                 stuart@pricelawgroup.com
            6
                 Kenneth L. Neeley, AZ 025899
            7    NEELEY LAW FIRM, PLC
            8
                 2250 E. Germann Rd., Suite11
                 Chandler, AZ 85286
            9    Tel: 480.802.4647 | Fax: 480.907.1648
                 ecf@neeleylaw.com
           10    Attorneys for Plaintiff
           11                            UNITED STATES BANKRUPTCY COURT
           12                              EASTERN DISTRICT OF CALIFORNIA
           13    In re:
                                                                  Bankruptcy Case No.: 17-90400-D-13G
           14    Jamelia Antoinette Robinson,
                                                                  Adv. No..: 17-09005
           15                             Debtor.                 Docket Control No.: KLN-1
           16    Jamelia Antoinette Robinson,
           17                             Plaintiff,              DECLARATION OF KENNETH L.
                                                                  NEELEY IN SUPPORT OF RENEWED
           18    vs.                                              FIRST FEE APPLICATION OF
                                                                  PLAINTIFF’S COUNSEL
           19    Pacific Motors,

           20                             Defendant.

           21             I, Kenneth L. Neeley, do hereby declare as follows:
           22      1. I am over the age of 21 years and make the statements herein based upon my personal
           23             knowledge.
           24      2. I am an attorney at the Neeley Law Firm, PLC (“Neeley Law”) and counsel for Jamelia
           25             Antoinette Robinson, the Plaintiff in the above-captioned adversary proceeding (the
           26             "Adversary Proceeding").
           27      3. The Plaintiff was also represented by Price Law Group, APC (“Price Law”).
           28      4. I am authorized to make this Declaration for and on behalf of Neeley Law and Price Law

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            1       (together “Applicants”).
            2    5. Plaintiff hired Applicants to represent her in the Adversary Proceeding, which was filed on
            3       June 2, 2017.
            4    6. The Adversary Proceeding alleged a violation of the automatic stay of 11 U.S.C. § 362.
            5    7. At the outset of representation in this case, Plaintiff agreed to compensate Applicants up to
            6       their ordinary hourly rates contingent on a recovery in the case.
            7    8. Applicants represented Plaintiff throughout the case, which went through several rounds of
            8       settlement negotiations, discovery, pretrial preparations, mediation, and settlement
            9       approval by the Court.
           10    9. During the pendency of this case, Applicants spent a total of 153.1 billable hours in their
           11       representation of the Plaintiff. Based upon Applicants’ ordinary hourly rates in effect at the
           12       time these services were rendered, Applicants incurred fees in the amount of $65,123.00
           13       and out-of-pocket expenses totaling $2,091.75 for a total of fees and expenses of
           14       $67,214.75 (“Fees”).
           15    10. A full and complete description of the Fees is contained in the itemized statement of fees
           16       which is attached hereto as Exhibit 1 and incorporated herein by this reference.
           17    11. The entries in Exhibit 1 contain a description of the time recorded by attorneys and
           18       paralegals who rendered services on behalf of Plaintiff.
           19    12. The rates charged by the identified personnel are consistent with the rates charged by
           20       comparable firms in California for like legal services.
           21    13. The detailed description of time in the attached itemized statement includes the initials of
           22       the individuals who performed each task, the amount of time expended in tenths of hours, a
           23       brief description of the work performed, and the amount of charges for the time involved.
           24    14. Exhibit 1 was prepared after compiling all time entries submitted by the attorneys and
           25       paralegals working on the case and associated with the representation of the Plaintiff in this
           26       Adversary Proceeding only.
           27    15. After reviewing the billing statements, I believe that all the entries were necessary,
           28       reasonable, appropriate, and relate to the representation of the Plaintiff in this Adversary

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            1       Proceeding only.
            2    16. At mediation, Applicants and Plaintiff agreed that Applicants would limit total fees and
            3       expenses to $21,000.00 to allow Plaintiff to keep a monetary recovery of $4,000.00 in
            4       addition to the removal of the secured claim from her Chapter 13 Plan. This represents a
            5       69% reduction in Applicants’ fees and expenses.
            6    17. The total amount of $21,000 requested by Applicants is a reasonable sum based upon the
            7       cause of action brought in this lawsuit, the quality of the representation provided, the nature
            8       and difficulty of the work to be done, the work actually performed by Applicants, and the
            9       results obtained by Applicants.
           10    18. I have carefully read and reviewed the foregoing Declaration and the accompanying
           11       Exhibit 1 and assert that the facts contained in them to be true and correct.
           12       DATED: September 11, 2018             NEELEY LAW FIRM,          PL C

           13
                                                          /s/ Kenneth L. Neeley
           14                                             Kenneth L. Neeley
                                                          Attorney for Plaintiff
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           14       Exhibit 1
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                                                                                                                           INVOICE
        Price Law Group PC                                                                                DATE:            September 11, 2018

                                                                                                          CASE:            Robinson v. Pacific

          DATE                                 DESCRIPTION                                  HOURS STAFF       RATE              AMOUNT

                   Called Pacific Auto to give notice of the BK and make
         5/11/2017 arrangements to get the car back. The male rep hung up on GAC.           0.1   GAC     $       120.00    $             12.00
                   Called Pacific Auto again to give notice of the BK and make
                   arrangements to get the car back. The male rep hung up on GAC
         5/11/2017 again.                                                                   0.1   GAC     $       120.00    $             12.00
                   Emailed client to request copy of current insurance and advise we
         5/11/2017 will be sending a certified letter to Pacific Auto.                      0.1   LTR     $       350.00    $             35.00
                   Called client to ask for copy of current insurance and advised we
         5/11/2017 need to prepare a certified letter to Pacific Auto.                      0.1   LTR     $       350.00    $             35.00
                   Drafted and mailed certified letter to Pacific Motors demanding
         5/15/2017 return of vehicle.                                                       0.5   GAC     $       120.00    $             60.00
         5/22/2017 Email to client giving her update on status of car                       0.1   LTR     $       350.00    $             35.00
                   Emailed DAC giving him a heads up that we are having trouble
         5/24/2017 getting the car back.                                                    0.1   LTR     $       350.00    $             35.00
         5/24/2017 Review email from LTR re. stay violation and fwd to KLN                  0.1   DAC     $       500.00    $             50.00
         5/24/2017 Review email from LTR re. stay violation and respond to team             0.1   KLN     $       450.00    $             45.00

                     Called Pacific Motors. Same male rep told GAC he had to talk to
         5/24/2017   his boss, Allan. Allan is gone for the day and call back tomorrow.     0.1   GAC     $       120.00    $             12.00
         5/24/2017   Emailed update to client.                                              0.1   GAC     $       120.00    $             12.00
         5/25/2017   Request instrucitons on how to proceed and give background             0.1   LMC     $       120.00    $             12.00
         5/25/2017   Draft of simple letter and instruct LMC                                0.2   DAC     $       500.00    $            100.00
                     Drafted and mailed second certified letter to Pacific Motors
         5/26/2017   demanding return of vehicle by 5/30/17.                                0.5   GAC     $       120.00    $             60.00
         5/30/2017   Called Pacific Motors. Left detailed voicemail.                        0.1   GAC     $       120.00    $             12.00
         5/30/2017   Called Pacific Motors again. Left detailed voicemail again.            0.1   GAC     $       120.00    $             12.00
                     Received call from Pacific Motors, Amanda. Confirmed receipt of
                     second letter. Does not want to return the car and want to go
         5/30/2017   through with adversary proceeding.                                     0.2   LTR     $       350.00    $             70.00
         5/30/2017   Emailed DAC. Pacific Motors does not intend to return car.             0.1   LTR     $       350.00    $             35.00
         5/30/2017   Review email from LTR and fwd to KLN                                   0.1   DAC     $       500.00    $             50.00
         5/30/2017   Review email from LTR and respond to DAC re. options                   0.1   KLN     $       450.00    $             45.00
         5/31/2017   Email update to client                                                 0.1   LTR     $       350.00    $             35.00
         5/31/2017   Emailed DAC and KLN to find out when AP will be filed                  0.1   LTR     $       350.00    $             35.00
         5/31/2017   Emailed and called client with update.                                 0.1   GAC     $       120.00    $             12.00
                     Received call from Pacific Motors – our client texted them to ask to
         5/31/2017   pick up car                                                            0.1   LTR     $       350.00    $             35.00
                     Received call from Pacific Motors – requested a week before we
                     file the AP. She needs more time to gather documentation to prove
                     that filing AP would be a waste of everyone time. Advised her that
                     the longer we wait the more the damages increase. She advised
                     that she spoke with several different legal counsels, but has not
                     hired one. Mentioned she spoke with Mrs. March who instructed
                     her that Pacific Motors is in a “no fault” zone since the repos
                     occurred prior to client filing bankruptcy. Mrs. March further
                     advised that the “automatic stay” only protects the debtor up on the
         5/31/2017   filing of the bankruptcy (not before).                                 0.2   LTR     $       350.00    $             70.00
                     Emailed KLN copy of Purchase Contract and forward notes
          6/1/2017   regarding communication with Pacific Motors                            0.2   LTR     $       350.00    $             70.00
                     Emailed LTR asking if we wanted to file right away. Complaint is
          6/1/2017   being drafted.                                                         0.1   KLN     $       450.00    $             45.00
          6/1/2017   Emailed client re. litigation representation                           0.1   LTR     $       350.00    $             35.00
          6/1/2017   Emailed KLN summary of discussion with Pacific Motor rep.              0.2   LTR     $       350.00    $             70.00
          6/1/2017   Emailed team with research re. legal position                          0.3   KLN     $       450.00    $            135.00

          6/1/2017 Emailed DAC and KLN that client confirms litigation representation 0.1         LTR     $       350.00    $             35.00
                   Review file, update legal research, and draft complaint and send to
          6/1/2017 LTR for review and filing                                           3.2        KLN     $       450.00    $          1,440.00
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          DATE                                    DESCRIPTION                              HOURS   STAFF       RATE            AMOUNT
                     Reviewed complaint and cover page sent by KLN, edited.
          6/1/2017   Researched corporate entity. Emailed to DAC to review and file.       0.6     LTR     $      350.00   $       210.00
          6/2/2017   Filed AP                                                              0.3     FL      $      120.00   $        36.00
                     Received call from Pacific Motors, Amanda. Wants to speak with
                     SMP to let him know that LTR filed AP after Pacific asked for a
                     week and without first speaking to Pacific. Confirmed they will not
          6/5/2017   return the car, will wait for judge’s ruling.                         0.2     LMC     $      120.00   $        24.00
          6/6/2017   Email next steps to LTR                                               0.2     KLN     $      450.00   $        90.00
          6/6/2017   Email update to KLN on 6/5 call from Amanda                           0.1     LTR     $      350.00   $        35.00
          6/6/2017   Review email from LTR and respond                                     0.1     KLN     $      450.00   $        45.00
          6/8/2017   Receive letter from Pacific, review and fwd to KLN & DAC              0.2     LTR     $      350.00   $        70.00
          6/8/2017   Review letter and respond to team                                     0.2     KLN     $      450.00   $        90.00
          6/8/2017   Review letter                                                         0.2     DAC     $      500.00   $       100.00
                     Received call from Pacific, Amanda. Client’s boyfriend arrived to
                     pick up items from car. He is not on account, they will not grant him
                     access without permission from client. They need something in
         6/14/2017   writing. Email team.                                                  0.3     LTR     $      350.00   $       105.00
                     Sent email to client letting her know Pacific needs written
         6/14/2017   communication to allow boyfriend to pick up belongings.               0.1     LTR     $      350.00   $        35.00
                     Prepared written authorization for client to have boyfriend pick up
         6/14/2017   belongings.                                                           0.2     GAC     $      120.00   $        24.00
         6/20/2017   Emailed LMC and FL re. service of AP                                  0.1     LTR     $      350.00   $        35.00
                     Emailed DAC and KLN to see if we should phone Pacific. No
         6/20/2017   answer has been filed. Discuss service.                               0.1     LTR     $      350.00   $        35.00
         6/20/2017   Review email and respond w/ recommended steps                         0.2     KLN     $      450.00   $        90.00
         6/20/2017   Review emails and confirm approach                                    0.2     DAC     $      500.00   $       100.00
         6/26/2017   Called court to request Alias Summons                                 0.1     LAR     $      120.00   $        12.00
          8/3/2017   Review answer and fwd to team                                         0.3     LTR     $      350.00   $       105.00
                     Review answer and emails w/ team re. legal position, next steps,
          8/3/2017   settlement                                                            0.5     KLN     $      450.00   $       225.00
          8/3/2017   Review answer and email team                                          0.3     DAC     $      500.00   $       150.00
          8/4/2017   Review order to confer                                                0.1     KLN     $      450.00   $        45.00
                     Emailed OC to see if she would be available at 10:15 or 10:20 for
          8/4/2017   the Meet and Confer.                                                  0.1     LTR     $      350.00   $        35.00
          8/4/2017   Call w/ KLN re. case status and meet & confer                         0.3     LTR     $      350.00   $       105.00
          8/4/2017   Call w/ LTR re. case status and meet & confer                         0.3     KLN     $      450.00   $       135.00
          8/4/2017   Telephone call to OC. Not available. Sent email to OC.                0.2     LTR     $      350.00   $        70.00
                     Received email from OC to call her office for the Meet and Confer.
          8/4/2017   Responded that I would call back at 12:15pm.                          0.1     LTR     $      350.00   $        35.00
                     Meet and confer with OC
          8/4/2017   12:13pm to 12:55pm                                                    0.7     LTR     $      350.00   $       245.00
                     Meet and confer with OC
          8/4/2017   12:13pm to 12:55pm                                                    0.7     KLN     $      450.00   $       315.00
          8/4/2017   Telephone call with client to provide update.                         0.3     LTR     $      350.00   $       105.00
          8/4/2017   Telephone call with client to provide update.                         0.3     KLN     $      450.00   $       135.00

          8/4/2017 Internal emails re. settlement, admission of KLN to CAED, strategy     0.4      KLN     $      450.00   $       180.00
                   Review and send emails re. settlement, admission of KLN to
          8/4/2017 CAED, strategy                                                         0.2      DAC     $      500.00   $       100.00
          8/4/2017 Review emails from KLN & DAC                                           0.1      LTR     $      350.00   $        35.00
          8/4/2017 Draft settlement demand email for LTR to review and send               0.7      KLN     $      450.00   $       315.00
          8/4/2017 Draft letter of preservation for LTR to review and send                0.8      KLN     $      450.00   $       360.00
                   Sent email to OC regarding Meet and Confer & sent letter of
          8/4/2017 preservation.                                                                   LTR     $      350.00   $          -
          8/4/2017 Sent email to OC regarding pickup of vehicle.                          0.1      LTR     $      350.00   $        35.00
          8/4/2017 Received email from OC regarding Meet and Confer                       0.1      LTR     $      350.00   $        35.00
                   Draft joint discovery plan and send to LTR for review and to send to
          8/7/2017 OC                                                                     0.9      KLN     $      450.00   $       405.00
          8/7/2017 Emailed OC draft of Proposed Joint Discovery Plan                      0.1      LTR     $      350.00   $        35.00
                   Received email from OC re settlement and stating no need for Joint
          8/7/2017 Discovery Plan.                                                        0.1      LTR     $      350.00   $        35.00
                   Review email from OC and respond to team and draft repsonse for
          8/7/2017 LTR to review and send                                                 0.8      KLN     $      450.00   $       360.00
          8/7/2017 Review email from KLN and confirm approach                             0.1      DAC     $      500.00   $        50.00
          8/8/2017 Email from OC with settlement offer, review and fwd                    0.3      LTR     $      350.00   $       105.00

          8/8/2017 Review settlement offer, next steps w/ LTR, internal emails w/ team 0.5         KLN     $      450.00   $       225.00
          8/8/2017 Review internal emails and respond                                  0.2         DAC     $      500.00   $       100.00
          8/8/2017 Several telephone call to clt regarding offer & email.              0.4         LTR     $      350.00   $       140.00
                                                                       Page 2 of 5
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          DATE                                  DESCRIPTION                                   HOURS   STAFF       RATE            AMOUNT
          8/8/2017   Conference call: DAC, LTR, KLN                                           0.2     LTR     $      350.00   $         70.00
          8/8/2017   Conference call: DAC, LTR, KLN                                           0.2     DAC     $      500.00   $        100.00
          8/8/2017   Conference call: DAC, LTR, KLN                                           0.2     KLN     $      450.00   $         90.00
          8/8/2017   Conference call: client, LTR, KLN                                        0.2     LTR     $      350.00   $         70.00
          8/8/2017   Conference call: client, LTR, KLN                                        0.2     KLN     $      450.00   $         90.00
                     Email to client confirming settlement rejection & proceed with
          8/8/2017   lawsuit.                                                                 0.1     LTR     $      350.00   $         35.00
                     Conference call with CJA and KLN to discuss scheduling
          8/9/2017   conference                                                               0.2     LTR     $      350.00   $         70.00
                     Conference call with CJA and LTR to discuss scheduling
          8/9/2017   conference                                                               0.2     KLN     $      450.00   $         90.00
                     Email from OC stating that we must provide our client with written
                     settlement offer from Pacific. Request that client write “I reject” on
          8/9/2017   their offer.                                                             0.1     LTR     $      350.00   $         35.00
          8/9/2017   Emailed client copy of settlement offer.                                 0.1     LTR     $      350.00   $         35.00
          8/9/2017   Internal emails re. settlement, demands by OC, approach                  0.3     KLN     $      450.00   $        135.00
          8/9/2017   Internal emails re. settlement, demands by OC, approach                  0.3     LTR     $      350.00   $        105.00
          8/9/2017   Internal emails re. settlement, demands by OC, approach                  0.3     DAC     $      500.00   $        150.00
          8/9/2017   Internal emails re. settlement, demands by OC, approach                  0.3     SMP     $      550.00   $        165.00

          8/9/2017 Draft detailed settlement demand letter for LTR to review and send         1.6     KLN     $      450.00   $        720.00
                   Responded to OC’s email re settlement and sent our settlement
          8/9/2017 demand letter                                                              0.1     LTR     $      350.00   $         35.00
          8/9/2017 Email to team re. approach to discovery                                    0.1     KLN     $      450.00   $         45.00
                   Sent second email to OC re. rejection of settlement offer due to
          8/9/2017 OC's demand for specific terms of rejection                                0.3     LTR     $      350.00   $        105.00
         8/10/2017 Attended Status Conference telephonically.                                 0.4     CJA     $      350.00   $        140.00
         8/10/2017 Sent update email re. status conference to team                            0.3     CJA     $      350.00   $        105.00
         8/10/2017 Emails to team re. status conference                                       0.1     SMP     $      550.00   $         55.00
         8/10/2017 Emails to team re. next steps                                              0.1     KLN     $      450.00   $         45.00
                   Received email from OC with second settlement offer, review and
         8/11/2017 fwd                                                                        0.2     LTR     $      350.00   $         70.00
         8/11/2017 Review second settlement offer                                             0.2     KLN     $      450.00   $         90.00
         8/11/2017 Emailed client copy of settlement offer                                    0.1     LTR     $      350.00   $         35.00
                   Called Laura Fowler to request recording of Case Status
         8/11/2017 Conference                                                                 0.1     LTR     $      350.00   $         35.00

         8/11/2017 Telephone call from client. Discussed settlement offer. She rejects.       0.3     LTR     $      350.00   $        105.00
                   Review recording on status conference, send detailed email to
                   team re. thoughts on settlement conference, law, pro hac
         8/11/2017 admission, next steps, settlement                                          0.5     KLN     $      450.00   $         225.00
         8/11/2017 Answer questions in KLN's email                                            0.1     SMP     $      550.00   $          55.00
         8/14/2017 Received and reviewed scheduling order. Fwd to KLN & DAC.                  0.2     LTR     $      350.00   $          70.00
         8/14/2017 Review scheduling order                                                    0.1     KLN     $      450.00   $          45.00
         8/15/2017 Draft and email Plaintiff's second settlement demand                       1.3     KLN     $      450.00   $         585.00
         8/16/2017 Email from client regarding vehicle – transmission is bad.                 0.1     LTR     $      350.00   $          35.00
         8/16/2017 Emailed KLN regarding condition of car                                     0.1     LTR     $      350.00   $          35.00
         8/16/2017 Review email re. problems with car                                         0.1     KLN     $      450.00   $          45.00
         8/16/2017 Internal emails re. next steps                                             0.2     KLN     $      450.00   $          90.00
         8/16/2017 Internal emails re. next steps                                             0.2     LTR     $      350.00   $          70.00
         8/16/2017 Internal emails re. next steps                                             0.2     DAC     $      500.00   $         100.00
         8/17/2017 Draft written discovery for LTR to review and send                         5.7     KLN     $      450.00   $       2,565.00
         8/17/2017 Emailed client to follow up on items requested by KLN.                     0.1     LTR     $      350.00   $          35.00
         8/17/2017 Email from OC to SMP re KLN not being licensed in CA.                      0.1     SMP     $      550.00   $          55.00
         8/17/2017 SMP responded to OC’s email.                                               0.1     SMP     $      550.00   $          55.00
         8/17/2017 Internal emails re. settlement, admission of KLN, approach                 0.2     SMP     $      550.00   $         110.00
         8/17/2017 Internal emails re. settlement, admission of KLN, approach                 0.2     KLN     $      450.00   $          90.00
         8/17/2017 Internal emails re. settlement, admission of KLN, approach                 0.2     DAC     $      500.00   $         100.00
         8/17/2017 Internal emails re. settlement, admission of KLN, approach                 0.2     LTR     $      350.00   $          70.00
         8/18/2017 Called and emailed client again about documents requested.                 0.2     LTR     $      350.00   $          70.00
         8/18/2017 Email to OC – disclosures were prepared.                                   0.1     LTR     $      350.00   $          35.00

         8/18/2017 Spoke to client about some of the items requested. Emailed KLN.            0.2     LTR     $      350.00   $         70.00
                   Review email from LTR, review disclosures of OC, send update
         8/18/2017 email re. our disclosures                                                  0.3     KLN     $      450.00   $        135.00
         8/18/2017 Send email to team re. approach to disclosures                             0.1     SMP     $      550.00   $         55.00
         8/18/2017 Draft discolsures and email to OC                                          1.0     KLN     $      450.00   $        450.00
                   Draft letter to OC for LTR to review and send re. condition of
         8/22/2017 vehicle, disclosures, and discovery                                        0.9     KLN     $      450.00   $        405.00
                                                                       Page 3 of 5
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          DATE                                  DESCRIPTION                                HOURS STAFF      RATE            AMOUNT
         8/22/2017 Filed and Mailed written discovery requests to creditor's atty          0.5   LAR   $       120.00   $         60.00
                   Emailed general case update letter and written discovery requests
         8/22/2017 to OC.                                                                  0.2    LTR   $      350.00   $         70.00
         8/22/2017 Email from OC. SMP responded                                            0.1    LTR   $      350.00   $         35.00
         8/22/2017 Email from OC regarding LTR’s last name. SMP responded.                 0.1    LTR   $      350.00   $         35.00
         8/23/2017 Emailed OC Initial Disclosures                                          0.1    LTR   $      350.00   $         35.00
                   Receive discovery responses from Pacific, quick review and fwd to
          9/6/2017 KLN                                                                     0.3    LTR   $      350.00   $        105.00
                   Review Pacific's responses, research on failure to respond to all
          9/6/2017 quesitons, internal emails                                              4.7    KLN   $      450.00   $       2,115.00
          9/6/2017 Email thoughts on Pacific's failure to respond                          0.2    DAC   $      500.00   $         100.00
         9/19/2017 Pro Hac Vice admission                                                  1.0    TEM   $      120.00   $         120.00
                   Received email from OC with Requests for Admission,
                   Interrogatories, & Requests to Produce to Robinson. Quick review
         9/25/2017 and fwd to KLN.                                                         0.3    LTR   $      350.00   $        105.00
         9/25/2017 Initial review of wrtiten discovery from Pacific                        0.8    KLN   $      450.00   $        360.00
         9/25/2017 Email from OC to SMP                                                    0.1    LTR   $      350.00   $         35.00
         9/30/3017 File pro hac vice paperwork                                             0.2    LTR   $      350.00   $         70.00
         10/2/2017 Email OC re. admission                                                  0.1    KLN   $      450.00   $         45.00
                   Receive email from OC with editable discovery document and
         10/2/2017 respond                                                                 0.1    KLN   $      450.00   $         45.00
         10/4/2017 Draft and send letter to Ms. March re. discovery deficiencies           1.2    KLN   $      450.00   $        540.00
         10/6/2017 Email from OC and respond that KLN is lead counsel                      0.1    SMP   $      550.00   $         55.00
         10/6/2017 Update team on communications with client                               0.1    KLN   $      450.00   $         45.00
         10/9/2017 Email OC re. productions of docs                                        0.2    KLN   $      450.00   $         90.00
         10/9/2017 Email team re. status of discovery and strategy                         0.2    KLN   $      450.00   $         90.00
         10/9/2017 Call w/ client to discuss answers to discovery                          1.6    KLN   $      450.00   $        720.00
                   Receive and review detailed letter from OC re. production of docs
        10/10/2017 and failure to respond to all interrogatories                           1.5    KLN   $      450.00   $        675.00
                   Email to OC responding to letter of same date and requesting a
        10/10/2017 meet and confer                                                         0.3    KLN   $      450.00   $        135.00
        10/10/2017 Review lenghty email response from OC to my email                       0.3    KLN   $      450.00   $        135.00
                   Draft supplement to request for production, send to OC with an
        10/13/2017 email responding to her email of 10/10/17                               1.7    KLN   $      450.00   $        765.00
        10/13/2017 Review email and case sent by OC                                        0.5    KLN   $      450.00   $        225.00
        10/13/2017 Prep for meet and confer with OC and hold call                          1.1    KLN   $      450.00   $        495.00
        10/13/2017 Send email to team re. meet and confer and settlement                   0.2    KLN   $      450.00   $         90.00
        10/18/2017 Email to client with follow up questions for discovery                  0.4    KLN   $      450.00   $        180.00

                     Draft letter to OC with detailed explanation of failure to comply with
        10/18/2017   discovery for each question as requested by OC in meet and confer 2.8        KLN   $      450.00   $       1,260.00
        10/20/2017   Email update from OC                                                   0.1   KLN   $      450.00   $          45.00
        10/27/2017   Review and organize faxes sent by client                               0.5   TEM   $      120.00   $          60.00
        10/27/2017   Review reponse letter from OC and repsonse email                       0.8   KLN   $      450.00   $         360.00
                     Draft resonses to RFAs, review and approve with client, send to
        10/30/2017   OC                                                                     3.5   KLN   $      450.00   $       1,575.00
                     Draft resonses to interogatories, review and approve with client,
        10/31/2017   organize documents. Still need a few items.                            5.7   KLN   $      450.00   $       2,565.00
         11/3/2017   Download and review docs prodcued by Pacific                           1.0   KLN   $      450.00   $         450.00
         12/1/2017   Send disocvery responses and update email to OC                        0.2   KLN   $      450.00   $          90.00
         12/4/2017   Discuss location for depositions                                       0.3   KLN   $      450.00   $         135.00
         12/4/2017   Discuss location for depositions                                       0.3   SMP   $      550.00   $         165.00
         12/4/2017   Discuss location for depositions                                       0.3   DAC   $      500.00   $         150.00
         12/4/2017   Draft and serve NOD for 30b6 rep                                       0.5   KLN   $      450.00   $         225.00
         12/4/2017   Compile and serve Privilege log                                        2.2   KLN   $      450.00   $         990.00
         12/5/2017   Email from OC re. depos and scheduling                                 0.2   KLN   $      450.00   $          90.00
         12/6/2017   Additional emai from OC re. depos and scheduling                       0.1   KLN   $      450.00   $          45.00
                     Receive NOD from OC and review scheduling requests and
        12/11/2017   respond                                                                0.4   KLN   $      450.00   $        180.00
        12/12/2017   Emails with OC regarding scheduling                                    0.3   KLN   $      450.00   $        135.00
        12/12/2017   Email update to client                                                 0.1   KLN   $      450.00   $         45.00
        12/13/2017   Review and sign stipulation re. depos and send to OC                   0.4   KLN   $      450.00   $        180.00
        12/14/2017   Receive and review Pacific's objection to RFP                          0.5   KLN   $      450.00   $        225.00
        12/14/2017   Review email from OC re. surrender of Prius                            0.2   KLN   $      450.00   $         90.00
        12/19/2017   Receive new NOC from OC                                                0.1   KLN   $      450.00   $         45.00
        12/28/2017   Send email to OC re. incorrect date on NOD                             0.1   KLN   $      450.00   $         45.00
        12/28/2017   Emails from OC confirming 1/15/18 for depos and responses              0.2   KLN   $      450.00   $         90.00
          1/9/2018   Internal emails re. depos and strategy                                 0.2   KLN   $      450.00   $         90.00
          1/9/2018   Internal emails re. depos and strategy                                 0.2   LTR   $      350.00   $         70.00
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          DATE                                DESCRIPTION                                  HOURS STAFF       RATE            AMOUNT
          1/9/2018 Internal emails re. depos and strategy                                  0.2   SMP   $        550.00   $        110.00
          1/9/2018 Internal emails re. depos and strategy                                  0.2   DAC   $        500.00   $        100.00

         1/12/2018 Deposition prep, prepare quesitons, review docs, prepare exhibits       4.0     KLN   $      450.00   $       1,800.00

         1/15/2018 Travel Costs: parking - $42.30; flight - $137.96; rental car - $17.50                                 $         197.76
         1/15/2018 Travel and depositions (4:32am to 11:27pm)                              18.9    KLN   $      450.00   $       8,505.00
                   Deposition costs                                                                                      $       1,422.70
         1/16/2018 Email to cleint with requests from depo                                 0.2     KLN   $      450.00   $          90.00
         1/16/2018 Update email to team                                                    0.2     KLN   $      450.00   $          90.00
                   Email to LTR re. needs from the file and review responses and
         1/16/2018 follow up questions                                                     0.5     KLN   $      450.00   $        225.00
         1/16/2018 Gather info and respond to KLN's requests                               0.4     LTR   $      350.00   $        140.00
         1/22/2018 Receive some docs from client and process                               0.2     TEM   $      120.00   $         24.00
         3/14/2018 Review depo transcripts and exhibits                                    1.0     KLN   $      450.00   $        450.00
         3/14/2018 Begin draft of pretrial statement                                       2.2     TEM   $      120.00   $        264.00
         3/15/2018 Complete and serve pretrial statement                                   1.9     KLN   $      450.00   $        855.00
         3/15/2018 Send exhibit to court reporter                                          0.1     KLN   $      450.00   $         45.00
         3/15/2018 Review Pacific's pretrial statement                                     0.5     KLN   $      450.00   $        225.00
         3/22/2018 Prep for pretrial conference, call in                                   0.7     KLN   $      450.00   $        315.00
         3/22/2018 Update email to team                                                    0.3     KLN   $      450.00   $        135.00
                   Receive and review email from OC demanding immediate payment
         3/22/2018 of $4,280.60 to OC                                                      0.2     KLN   $      450.00   $         90.00
         3/23/2018 Multiple emails with OC re. her demand for payment                      0.7     KLN   $      450.00   $        315.00
         3/23/2018 Draft Motion for Clarification and file                                 1.5     KLN   $      450.00   $        675.00
         3/26/2018 Review court orders re. Mediation                                       0.2     KLN   $      450.00   $         90.00
         3/26/2018 Serve Mediation documents and prep COS                                  0.5     TEM   $      120.00   $         60.00
         3/27/2018 File COS                                                                0.1     LAR   $      120.00   $         12.00
         3/29/2018 Review court order re. Motion for Clarification                         0.2     KLN   $      450.00   $         90.00
         3/29/2018 Review MTD filed by Pacific                                             0.6     KLN   $      450.00   $        270.00
                   Emails with OC regarding recent motions and liability of Mr. Kumar
         3/29/2018 and representation of Mr. Kumar personally                              0.4     KLN   $      450.00   $        180.00
         3/29/2018 Research on personal liability and update to team                       1.0     KLN   $      450.00   $        450.00
          4/3/2018 Review Motion for Written Order filed by Pacific                        0.7     KLN   $      450.00   $        315.00
          4/5/2018 Draft letter to Mr. Kumar re. potetnial personal liability and send     1.3     KLN   $      450.00   $        585.00
         4/13/2018 Prep and attend initial mediation conference call                       1.2     KLN   $      450.00   $        540.00
         4/16/2018 Review motion to extend filed by Pacific                                0.6     KLN   $      450.00   $        270.00
                   Begin drafting responses to MTD and MTE and Motion for Written
          5/4/2018 Order                                                                   2.0     KLN   $      450.00   $         900.00
          5/4/2018 Email to OC re. exhibits for mediation                                  0.1     KLN   $      450.00   $          45.00
          5/4/2018 Draft mediation memoradum and compile exhibits                          7.5     KLN   $      450.00   $       3,375.00
          5/4/2018 Email update to team                                                    0.2     KLN   $      450.00   $          90.00
         5/10/2018 Prep and attend mediation                                               16.0    KLN   $      450.00   $       7,200.00
         5/10/2018 Airline Ticket, Uber, Parking                                                                         $         329.55
         5/11/2018 Email update to team                                                    0.3     KLN   $      450.00   $         135.00
         5/22/2018 Continuances of Pending Hearings and Stip w/ Ms. March                  0.6     KLN   $      450.00   $         270.00
          6/5/2018 Draft and file Motion to Approve Settlement                             2.0     KLN   $      450.00   $         900.00
          6/8/2018 Draft Notice of Hearing                                                 0.3     TEM   $      120.00   $          36.00
         6/26/2018 Hearing on Motion to Approve                                            0.3     CJA   $      350.00   $         105.00
          7/5/2018 Prepare Service of Motion to Approve                                    0.5     TEM   $      120.00   $          60.00
          7/5/2018 Mailing Costs                                                                                         $         111.74
         7/17/2018 Hearing on Motion to Approve                                            0.4     KLN   $      450.00   $         180.00
         7/17/2018 CourtCall Charge                                                                                      $          30.00
         7/23/2018 Draft Order Approving Settlement and revisions w/ Ms. March             0.9     KLN   $      450.00   $         405.00
          8/1/2018 Prepare, File, and Notice First Fee Application                         1.2     KLN   $      450.00   $         540.00

                                                                                           153.1               TOTAL     $      67,214.75




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       Intials Name                 Position    Rate
       KLN       Kenneth L Neeley   Attorney     450
       SMP       Stuart M Price     Attorney     550
       LTR       L. Tegan Rodkey    Attorney     350
       DAC       David A Chami      Attorney     500
       CJA       Candace J Arroyo   Attorney     350
       TEM       Terea E Maloney    Paralegal    120
       LAR       Lidia A Ramirez    Paralegal    120
       LMC       Mari Cervantes     Paralegal    120
       GAC       Gabriel Cruz       Paralegal    120
       FL        Florence Lirato    Paralegal    120
